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       4
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       6
       7                               UNITED STATES BANKRUPTCY COURT

       8                                 EASTERN DISTRICT OF CALIFORNIA
       9
      10   In Re                                       Case No. 2009-27153
      11   Gil Mariano Raposo and Joanne Carol
                                                       Chapter 13
           Raposo
      12
      13
                                                       Adversary No.: 2015-02095
           Debtor.
      14   ________________________________ FIRST AMENDED COMPLAINT FOR
                                               DECLARATORY RELIEF TO VOID LIEN
      15   Gil Mariano Raposo and Joanne Carol PURSUANT TO 11 U.S.C. §506(a); RELATED
      16   Raposo,                             STATED CAUSES OF ACTION;
                                               DETERMINATION OF DISCHARGEABILITY OF
      17                      Plaintiff,       DEBT UNDER FRBP §4007
      18
                   v.
      19
           Ocwen Loan Servicing, LLC, CIT Bank
      20   N.A., the successor to OneWest Bank,
           FSB, and Deutsche Bank National Trust
      21
           Company, as Indenture Trustee for
      22   Indymac Home Equity Mortgage Loan
           Asset-Backed Trust, Series 2006-H4,
      23
      24                         Defendants.
                   Plaintiff Gil Mariano Raposo and Joanne Carol Raposo, Chapter 13 Debtor and
      25
           Plaintiff herein, alleges as follows:
      26
           ///
      27
           ///
      28
                                     First Amended Adversary Complaint – Lien Stripping


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       1                                               PARTIES
       2   1.      Plaintiff, Gil Mariano Raposo and Joanne Carol Raposo, are debtors in bankruptcy
       3   Case No. 2009-27153 and reside at 9090 Locust Street, Elk Grove, CA 95624.
       4   2.      Defendant, Ocwen Loan Servicing, LLC and, is a Delaware Corporation.
       5   3.      Defendant, CIT Bank N.A., the successor to OneWest Bank, FSB, is a national bank.
       6   4.      Defendant, Deutsche Bank National Trust Company, as Indenture Trustee for
       7   Indymac Home Equity Mortgage Loan Asset-Backed Trust, Series 2006-H4, is a national
       8   bank.
       9                                 JURISDICTIONAL ALLEGATIONS
      10
           5.      This adversary proceeding arises out of and is related to the above-captioned Chapter
      11
           13 case of Gil Mariano Raposo and Joanne Carol Raposo, Case No. 2009-27153, of which
      12
           the Plan was completed on September 8, 2014 and the discharge was granted on November
      13
           3, 2014. The plan and Motion to Value related to the lien with Defendants was approved by
      14
           the Court and provided that the Defendants lien was void upon completion of the plan.
      15
           Therefore this court has jurisdiction over this matter pursuant to 28 U.S.C. §§157, 1334.
      16
           6.      Defendant herein has a claim against Plaintiff, as defined by 11 U.S.C. §101(5). The
      17
           complaint, as set forth herein, involves the voiding of the secured status of a claim pursuant
      18
           to 11 U.S.C. §506, and as such, constitutes a “core” proceeding pursuant to 28 U.S.C.
      19
           §157(b)(2).
      20
           7.      Plaintiff contends that the State causes of action in this are part of the core proceeding
      21
           as they would only arise but for the initial order to value the collateral, resulting approved
      22
           plan and completion of the plan.
      23
           8.      Plaintiff further contends that the State causes of action are not preempted by the
      24
           bankruptcy code as the bankruptcy code does not provide a specific remedy at the time of
      25
           this complaint being filed as the lien removal is a State law by-product of the Bankruptcy
      26
           Courts determination that the defendant’s security was rendered void at the completion of the
      27
           plan.
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       1   9.     To the extent that any part of this matter is deemed non-core, the Plaintiff consents to
       2   this Court in rendering final judgment.
       3   10.    Venue for this adversary proceeding is proper pursuant to 28 U.S.C. §1409(a).
       4
                                             FACTUAL ALLEGATIONS
       5   11.    Plaintiff owns and resides in a parcel of real property commonly known as 9090
       6   Locust Street, Elk Grove, CA 95624 (the “PROPERTY”).
       7   12.    As of the date of the filing of the Chapter 13 bankruptcy case herein, the PROPERTY
       8   had a fair market value of approximately $187,000.00.
       9   13.    Plaintiff filed above-captioned Chapter 13 case on April 16, 2009.
      10   14.    In conjunction with plan approval, the debtor secured an order valuing the secured
      11   collateral of Defendants at zero pursuant to 11 U.S.C. §506(a) on September 11, 2010.
      12   15.    A copy of the plan confirmed by the Court is attached as Exhibit A.
      13   16.    A copy of the Order confirming plan is attached as Exhibit B.
      14   17.    A copy of the Order valuing the collateral of Defendants is attached as Exhibit C.
      15   Plaintiff contends this is a final non-appealable order.
      16   18.    As of April 16, 2009, the following liens encumbered the property: A first Deed of Trust
      17   in favor of BAC Home Loans Servicing, LP (now serviced by Greentree Servicing LLC in the
      18   amount of ~$613.319.00 (“FIRST TRUST DEED”), a true and correct copy of the Note and
      19   Trust Deed is attached as Exhibit D and a Second Deed of Trust in favor of OneWest Bank,
      20   FSB now serviced by Ocwen Loan Servicing, LLC, (“SECOND TRUST DEED”), a true and
      21   correct copy of the trust deed is attached as Exhibit E.
      22   19.    OneWest Bank, FSB now serviced by Ocwen Loan Servicing, LLC has made a claim
      23   on Plaintiff related to the obligation in the amount of ~$66,586.00.
      24   20.    As of the date of filing of the Chapter 13 bankruptcy case herein, only the FIRST
      25   TRUST DEED was a secured claim, as defined by 11 U.S.C. §506(a).
      26   21.    Plaintiff completed their Plan on September 8, 2014.
      27   22.    A copy of the Discharge of Debtor is attached as Exhibit F.
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       1   23.     Therefore, Defendants were required to reconvey their security interest effective upon
       2   plan completion.
       3   24.     Also, the procedure employed to secure the order valuing the collateral is consistent
       4   with the holding in In re Zimmer, 313 F.3d 1220 (9th Cir. 2002) adopting the conclusion of In
       5   re Lam, 211 B.R. 36 (9th Cir. B.A.P 1997).
       6   25.     A due diligence review of the Sacramento County Recorder's Office reveals that no
       7   Deed of Reconveyance has been recorded as of the date of this Adversary Proceeding 1.
       8
                                              I. FIRST CLAIM FOR RELIEF
       9                                   DECLARATORY RELIEF/QUIET TITLE

      10   26.     Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

      11   27.     Plaintiff alleges that the real Property became property of the bankruptcy estate upon

      12   the filing of the petition which commenced the underlying chapter 13 case.

      13   28.     An actual controversy exists between Plaintiff and the Defendants with respect to the

      14   validity, priority, and extent of liens or other interest in the real property of the Plaintiff.

      15   29.     Plaintiff seeks a Declaratory Judgment pursuant to FRBP §7001(9) as the relief

      16   requested requires the voiding and subsequent release of lien of Defendant thereby invoking

      17   FRBP §7001(2) and FRBP §7001(6) to quiet the title of the Plaintiff.

      18   30.     Plaintiff is informed and believes that the SECOND TRUST DEED is completely

      19   unsecured and under applicable law has been determined to be a general unsecured claim.

      20   31.     This Court has the authority under applicable law, including 11 U.S.C. §1322 (b), to

      21   confirm a chapter 13 plan which treats the holder of the SECOND TRUST DEED as an

      22   unsecured creditor. Said plan was confirmed by the Court.

      23   32.     Under applicable law, upon completion of Debtor’s chapter 13 plan, the Court has the

      24   authority to void the SECOND TRUST DEED if the creditor does not remove the lien as

      25   required by State law and to quiet the title of the Plaintiff.

      26   33.     The debtor has completed their Chapter 13 Plan which required the Defendant to

      27   1
            After the initial case was filed, Ocwen Loan Servicing did record a reconveyance for which Plaintiff contends was
      28   defective as the Substitution of Trustee was not executed by the beneficiary, Deutsche Bank.

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       1   reconvey their loan.
       2   34.     Plaintiff has made repeated demands for the reconveyance.
       3   35.     Causing further harm to the Plaintiff, it was learned that Defendant Ocwen filed a
       4   reconveyance in September 2015, after the initial adversary complaint was filed purporting to
       5   reconvey the second deed of trust. However, unknown to Plaintiff, but known to Ocwen, was
       6   that Deutsche Bank was the successor in interest and therefore the proper party to execute a
       7   substitution of trustee to have an effective reconveyance.
       8   36.     At present, only Indymac Bank, who was succeeded by OneWest Bank of which was
       9   succeed by CIT Bank, has the recorded beneficial interest in the second deed of trust.
      10   37.     All of this facts have clouded the title of Plaintiff of which Plaintiff requests that the
      11   court quiet the title of the Plaintiff.
      12   38.     The Plaintiff/Debtor requests judgment from the Court to void the SECOND DEED OF
      13   TRUST, thereby quieting title, recorded in Sacramento County on October 5, 2006, in Book
      14   20061005, Page 00967, in a form allowing for recording with the Sacramento County
      15   Recorder related to the legal description of:
      16
                 All that certain real property in the City of Elk Grove, County of Sacramento, State of
      17         California, described as follows:

      18         THE NORTH 1/2 OF LOT 20 OF J.H. KERR'S ADDITION TO ELK GROVE,
                 ACCORDING TO THE OFFICIAL PLAT THEREOF, FILED IN THE OFFICE OF THE
      19
                 RECORDER OF SACRAMENTO COUNTY, CALIFORNIA IN BOOK 1 OF MAPS,
      20         MAP NO. 28.

      21         APN: 125-0253-017-0000
      22
           39.     Consistent with a Deed of Reconveyance, which should have been recorded by the
      23
           Defendant, Plaintiff requests that contained in any judgment is language equivalent to a
      24
           Deed of Reconveyance that directs that title be reconveyed (returned) to the Plaintiff which
      25
           includes “all right, title and interest” acquired by said Deed of Trust to Defendant related to
      26
           the 2nd Deed of Trust they hold. This would, in effect, “quiet the title” of the Plaintiff.
      27
           40.     The SECOND DEED OF TRUST contains an attorney’s fees and cost provision (see
      28
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       1   Exhibit E, “Deed of Trust”, Page 4 of 6, ¶10). As such, under California Civil Code §1717, a
       2   reciprocal contractual attorneys’ fees statute, the Plaintiff is entitled to reimbursement of
       3   attorney’s fees. Plaintiff requests an award of attorney’s fees as allowed for in the contract
       4   with Defendant.
       5   41.    Pleading alternative theories, that if Defendant contends that only the in personam
       6   liability has been discharged, Plaintiff seeks, pursuant to FRBP §4007(a)-(b), a determination
       7   that both the in personam and in rem liability of the debt has been fully discharged and any
       8   security interest voided.
       9
                                        II. SECOND CLAIM FOR RELIEF
      10                     VIOLATION OF CALIFORNIA CIVIL CODE SECTION 2941(d)

      11   42.    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

      12   43.    On October 6, 2006 for a valuable consideration, made and delivered a HELOC

      13   Agreement (''the note'') in the sum of $ ~$51,000.00.

      14   44.    On the same day, plaintiff executed and delivered to defendant, a certain trust deed

      15   (''the trust deed'') recorded in Sacramento County, California covering the property.

      16   45.    Plaintiff, on or about, September 8, 2014, by Notice from Trustee, completed their

      17   Chapter 13 plan which required the Defendants to reconvey the Deed of Trust on said

      18   property.

      19   46.    Defendants were placed on additional notice by the BNC's notification of the filing of

      20   the Trustee's final report after the plan completion.

      21   47.    In spite of plaintiff's full compliance with the Court approved Chapter 13 plan

      22   defendants failed and refused, and continues to fail and refuse, to reconvey the deed of trust.

      23   48.    As a proximate result of this failure and refusal of defendants to reconvey, Plaintiff has

      24   been required to file an adversary proceeding, at substantial cost, which is a direct breach of

      25   Defendants statutory duty and has damaged Plaintiff by this cost.

      26   49.    California Civil Code §2941(b)(1) requires that within 30 days after an obligation

      27   secured by a deed of trust has been satisfied, the beneficiary or the assignee, Defendants

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       1   herein, shall execute and deliver a full reconveyance. This did not happen.
       2   50.     Plaintiff contends that the obligation was satisfied upon completion of the plan.
       3   51.     Defendant has a history of refusing to reconvey deeds of trust required to be removed
       4   upon completion of Chapter 13 cases and thereby it is commonplace that debtors are forced
       5   to file adversary proceedings to obtain reconveyances.
       6   52.     More than 30 days have passed from the date that the Defendants time began in
       7   which to reconvey and Defendants have not reconveyed.
       8   53.     California Civil Code §2941(d) provides that a violation of Civil Code §2941 shall make
       9   the violator, the Defendants herein, liable to the Plaintiff for all damages sustained by the
      10   Plaintiff.
      11   54.     Title is being slandered by the Defendants by continuing the lien on the property.
      12   55.     California Civil Code §2941(d) provides that a violation of Civil Code §2941 shall make
      13   the violator, the Defendants herein, liable to the Plaintiff for a statutory penalty of $500.00.
      14   56.     Plaintiff hereby requests damages, as allowed for in Civil Code §2941, equal to all
      15   attorneys fees and costs, as allowed for in the contract between the parties, they will sustain
      16   as a result of bringing an action to enforce California Civil Code §2941 and a statutory
      17   penalty of $500.00.
                                             III. THIRD CLAIM FOR RELIEF
      18                   (Unfair Practices under California Business & Professions Code
      19                                          Section 17200, et seq.)
                                      (AS TO OCWEN LOAN SERVICING ONLY)
      20
           57.     Plaintiff incorporates all preceding paragraphs as though fully set forth herein.
      21
           58.     California Business & Professions Code Section 17200, et seq., prohibits acts of
      22
           unfair competition, which means and includes any “fraudulent business act or practice . . .”
      23
           and conduct which is “likely to deceive” and is “fraudulent” within the meaning of Section
      24
           17200.
      25
           59.     As more fully described above (e.g. violating the civil code and issuing reconveyances
      26
           by the improper party resulting in a cloud on the title of Plaintiff), Ocwen's acts and practices
      27
           are likely to deceive, constituting a fraudulent business act or practice. This conduct is
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       1   ongoing and continues to this date.
       2   60.    Ocwen, one of the Defendants, is no stranger to litigation filed by various State
       3   Attorneys General regarding deceptive business practices. As evidence herein, these acts
       4   merely continue.
       5   61.    Specifically, Defendants engage in deceptive business practices with respect to
       6   demanding payments from Plaintiff and similarly situated Plaintiff’s by:
       7          a) Ignoring bankruptcy court order that Plaintiff’s cured loan;
       8
                  b) Issuing reconveyances they know fail to comply with the California Civil Code;
       9
      10          c) Failing to disclose the proper real parties in interest in an effort to save themselves
      11               money yet cloud and slander the title of Plaintiff.
      12
           62.    Plaintiff alleges that by engaging in the above described acts and/or practices as
      13
           alleged herein, Defendants have violated several California laws and regulations and said
      14
           predicate acts are therefore per se violations of California Business and Professions Code
      15
           Section 17200, et seq.
      16
           63.    Plaintiff alleges that as direct and proximate result of the aforementioned acts,
      17
           Defendants have prospered and benefited from their wrongful acts and have been unjustly
      18
           enriched.
      19
           64.    Plaintiff has lost money and property and suffered injury in fact, and other members of
      20
           the public falling victim to Defendants’ schemes are likely to be injured.
      21
           65.    The harm to Plaintiff and to members of the general public outweighs the utility of
      22
           Defendants’ policy and practices. Consequently, their policy and practices constitute an
      23
           unlawful business act or practice within the meaning of Business and Professions Code
      24
           §17200.
      25
           66.    Further, the foregoing conduct threatens an incipient violation of a consumer law, or
      26
           violates the policy or spirit of such law or otherwise significantly threatens or harms
      27
           competition.
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       1   67.    Defendants’ practices described above are likely to mislead the general public, and
       2   therefore, constitute a fraudulent business act of practice within the meaning of Business and
       3   Professions Code §17200. The Defendants’ unfair, unlawful, and fraudulent business
       4   practices and false and misleading advertising present a continuing threat to members of
       5   public in that other consumers will be defrauded into believing their loans are reconveyed
       6   when in fact they are not.
       7   68.    Plaintiff is therefore entitled to injunctive relief as available under California Business
       8   and Professions Code Sec. 17200 and related sections. These acts and practices, as
       9   described in the previous paragraphs, are unfair and violate Business and Professions Code
      10   § 17200 because their policies and practices described above violate all the statutes
      11   previously listed, and consequently, constitute and unlawful business act of practice within
      12   the meaning of Business and Professions Code § 17200.
      13
                                              IV. FOURTH CLAIM FOR RELIEF
      14                                            SLANDER OF TITLE
      15   20.    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.
      16   21.    Defendants are falsely alleging an ownership interest in the property of Plaintiff by
      17   keeping the deed of trust of record.
      18   22.    In doing so, Defendants are communicating to the public that they have an interest in
      19   the Plaintiffs property.
      20   23.    Said public statements is disparaging of the Plaintiff’s title.
      21   24.    The statements on title are completely untrue, improper reconveyances have been
      22   provided and a proper reconveyance should have been recorded in conformity with California
      23   law.
      24   25.    These untrue statements on the title are causing the Plaintiff to suffer actual damages.
      25   26.    Said acts of slandering title are willful and intentional and acts of malice.
      26   27.    The debtor has damages in an ongoing amount to be proven at trial.
      27   28.    Plaintiff requests damages in the amount of $500,000.00 as punitive damages for the
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       1   outrageous conduct of the Defendants.
       2
                                               V. FIFTH CLAIM FOR RELIEF
       3                                            ATTORNEY’S FEES

       4   29.    Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

       5   30.    Effective December 1, 2014, Plaintiff is no longer required to plead attorney's fees as

       6   a separate claim for relief. However, in order to maintain consistency with the court holdings

       7   in this district, Plaintiff is pleading attorney's fees as a separate claim for relief for clarity.

       8   31.    Plaintiff is entitled to attorney’s fees by statute, Civil Code §2941, and pursuant to the

       9   terms of the contract between the parties.

      10   32.    By contract, the note and Deed of Trust contains an attorney’s fees and cost provision

      11   (see Exhibit E, “Deed of Trust”, Page 4 of 6, ¶10) for the benefit of Defendants.

      12   33.    As such, under California Civil Code §1717, a reciprocal contractual attorneys’ fees

      13   statute, the Plaintiff is entitled to reimbursement of attorney’s fees.

      14   34.    By statute, pursuant to California Civil Code §2941, Plaintiff is entitled to attorneys

      15   fees as the prevailing party in this action.

      16   35.    Therefore, Plaintiff requests an award of attorney's fees, in an amount the court

      17   determines to be reasonable, as authorized by the provisions of the contract between

      18   Plaintiff and Defendant and pursuance to the California statutes cited herein.

      19                            VI. REQUEST FOR JUDGMENTS AND ORDERS

      20   36.    Based on the foregoing, Plaintiff requests that the Court enter a final judgment which:

      21            a.    Grants Declaratory relief that the order of the Honorable Robert S. Bardwil on

      22                  July 14, 2009, was a final non-appealable order in determining the secured

      23                  status of Defendants lien as zero;

      24            b.    Grants Declaratory relief that the Plaintiff has completed their confirmed plan and

      25                  granted a discharge, that the debt and security interest therein has been

      26                  discharged and the lien is void;

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       1           c.   Grants Declaratory relief for a judgment in a format allowed for recording that
       2                voids the Deed of Trust of Defendant;
       3           d.   Attorney’s fees and costs as allowed for in the contract between Plaintiff and
       4                Defendant and pursuant to California Civil Code §2941;
       5           e.   A statutory penalty of $500.00 pursuant to California Civil Code §2941;
       6           f.   Injunctive Relief pursuant to Business and Professions Code §17200 et seq.
       7           g.   Punitive Damages of $500,000.00 related to slander of title;
       8           h.   Damages, in an amount to be proven at trial;
       9           i.   For such other and further relief as the Court deems just and proper.
      10   Respectfully submitted,
      11
           Dated: January 5, 2016                            CIANCHETTA AND ASSOCIATES
      12
      13
                                                             /s/ Peter Cianchetta _____________
      14                                                     Peter Cianchetta, Attorney for
                                                             Gil Mariano Raposo and Joanne Carol Raposo
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                                                          Exhibits
       1
       2         Exhibit   Description
                   A       Plan of Debtor
       3           B       Order Confirming Plan
       4           C       Copy of the Order ordering that the SECOND DEED OF TRUST had a
                           secured value of zero.
       5           D       Copy of Note and First Deed of Trust
                   E       Copy of Second Deed of Trust
       6
                   F       Discharge
       7
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